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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

THE SURGERY CENTER at 900 NORTH )
MICHIGAN AVENUE, LLC,           )
                                )
                Plaintiff,      )                      Civil Action No: 1:15-cv-4336
     v.                         )
                                )                      Hon. Sharon Johnson Coleman
AMERICAN PHYSICIANS ASSURANCE )
CORPORATION, INC., and AMERICAN )                      Mag. Jeffrey Cole
PHYSICIANS CAPITAL, INC.,       )
                                )
                Defendants.     )

         DEFENDANTS’ MOTION FOR APPROVAL OF BILL OF COSTS AND
             ORDER DIRECTING PLAINTIFF TO TENDER PAYMENT

       Defendants American Physicians Assurance Corporation and American Physicians

Capital, Inc., move this Court to approve the Bill of Costs previously filed with the Clerk of Court

pursuant to Fed. R. Civ. P. 54(d)(1), LR 54.1 and 28 U.S.C. § 1920, direct the Clerk of Court to

tax the requested costs against Plaintiff and for an Order directing Plaintiff to tender payment

within 30-days thereafter. In support of this Motion, Defendants state as follows:

       1.      On June 26, 2018, this Court granted Defendants’ motion pursuant to Fed. R. Civ.

P. 50(a) for judgment as a matter of law at the close of Plaintiff’s case-in-chief at trial and entered

judgment in Defendants’ favor as to all claims asserted by Plaintiff. (Dkt. 335-337). On July 25,

2018, at 2:14 p.m., Plaintiff timely filed a Notice of Appeal (Dkt. 338). Shortly thereafter at 4:10

p.m., Defendants timely filed with the Clerk of Court pursuant to L.R. 54.1(a) their Fed. R. 54(d)(1)

Bill of Costs and served the same on Plaintiff at 4:32 p.m. (Dkt. 340; Ex. A). Plaintiff did not

object to nor move to stay the Bill of Costs at any time.

       2.      On April 25, 2019, the Court of Appeals for the Seventh Circuit issued its decision

affirming this Court’s entry of judgment in Defendants’ favor. (Dkt. 359). On May 17, 2019, the
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opinion of the Court of Appeals was certified and the Court of Appeal’s final judgment and

mandate were issued. (Dkt. 358-360).

       3.      The Clerk of Court for the Northern District of Illinois has not taxed the costs

sought in Defendants’ Bill of Costs. Accordingly, Defendants request that this Court approve the

Bill of Costs totaling $20,511.90 previously filed with the Clerk of Court, direct the Clerk of Court

to tax those costs against Plaintiff and order Plaintiff to tender payment of such costs to Defendants

within thirty-days thereafter.

                                               Respectfully submitted,

                                               By: Benjamin F. Klimek
                                                  One of the Attorneys for Defendants

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